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~ UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

DISH NETWORK L.L.C.

and NAGRASTAR LLC, Civil Case No. 8:19-cv-672-T-O2AEP

Plaintiffs,
Vv.

PETER LIBERATORE, BRANDON
WELLS, DROID TECHNOLOGY LLC,
and TAMPA BAY MARKETING:
SERVICES, INC., individually and
collectively d/b/a www.simply-tv.com,

Defendants.

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FINAL JUDGMENT AND PERMANENT INJUNCTION

Before the Court is the Agreed Motion for Final Judgment and Permanent Injunction
filed jointly by Plaintiffs DISH Network L.L.C. and NagraStar LLC (together, “DISH”) and
Defendant Peter Liberatore (“Defendant”) (Dkt. 49). The Court GRANTS the agreed motion
and ORDERS as follows:

l. Judgment is entered for DISH on Counts I and II of its complaint asserting claims
under the Federal Communications Act, 47 U.S.C. §§ 605(a) and 605(e)(4) (the “FCA”). |

2. DISH is awarded statutory damages of thirty million dollars ($30,000,000) under
the FCA calculated at the parties’ agreed upon amount of $750 for each of the 40,000 device
codes sold by Defendant to the SimplyTV streaming service through which Defendant provided

unauthorized access to DISH’s television programming.
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3. Defendant, and anyone acting in active concert or participation with Defendant
that receives actual notice of the order, are permanently enjoined from:

a. _—- receiving, retransmitting or copying, or assisting others in receiving,
retransmitting or copying, any of DISH’s satellite or over-the-top Internet transmissions
of television programming or any content contained therein;

b. ' manufacturing, assembling, modifying, importing, exporting, selling,
or distributing any device code, passcode, subscription, set-top box, application, or any
other device or equipment that is primarily of assistance in, or that is intended to be used
for, receiving or assisting in receiving DISH’s satellite or over-the-top Internet
transmissions of television programming or any content contained therein.

4. Defendant shall transfer to DISH or a designee selected by DISH, within seven
(7) days of the date of this Order, all device codes, renewal codes, subscriptions and applications
for the SimplyTV service, as well as all computers, phones, servers and all social media,
financial, online or other accounts associated in any way with the SimplyTV service. All items
that DISH receives pursuant to this paragraph may be destroyed at DISH’s discretion.

5. Defendant shall transfer to DISH or a designee selected by DISH, within seven
(7) days of the date of this Order, the domain names www.simply-tv.com and
https://store.simply-tv.com, and any other domain name Defendant owns or controls that was
used in connection with the SimplyTV service or any other unauthorized streaming service.

6. Each party shall bear its own attorney’s fees and costs in this case.
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ds The Court retains jurisdiction over this action for a period of three (3) years for
the purpose of enforcing this final judgment and permanent injunction.

8. The Clerk is directed to close the case.

DONE and ORDERED in Chambers in Tampa, Florida on g/v / , 2019,

ly

William F. Jun
UNITED STAZES DISTRICT JUDGE
